‘Case 3:23-cr-00126-MEM Document 3 Filed 05/22/23 Page 1 of 32

_ UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF PENNSYLVANIA:

‘UNITED STATES OF AMERICA =: CR. NO. 3:23-CR-1 ab

v . : (JudgeAurim) FILED
RALPH PARRY, | . : (electronically filed) SCRANTON
Defendant : MAY 22 2993

PLEA AGREEMENT pen__UKC
DEPUTY CLERK

The following Plea Agreement is entered by the United States
Attorney for the Middle District of Pennsylvania and the above- .
captioned defendant. Any reference to the United States or to the
Government in this Agreement shall mean the Office of the United

States Attorney for the Middle District of Pennsylvania.

A. Violation(s),. Penalties, and Dismissal of Other Counts

1. Waiver of Indictment/Plea of Guilty. The defendant agrees to

waive indictment by a erand jury and plead guilty to a felony
Information, which will be filed against the defendant by the
‘United States Attorney for the Middle District of Pennsylvania.
That Information will charge the defendant with a violation of
Title 18, United States Code, § 371, Conspiracy to Commit Theft

of Major Artwork, Concealment and Disposal of Major Artwork,
Case 3:23-cr-00126-MEM Document 3 Filed 05/22/23 Page 2 of 32 ,

and Interstate Transportation of Stolen Property. The
maximum penalty for that offense is imprisonment for a period
of five years, a fine of $250,000, a maximum term of supervised
release of three years, to be determined by the Court, which
shall be served at the conclusion of and in addition to any term
of imprisonment, the costs of prosecution, denial of certain
federal benefits, and an assessment in the amount of $100. At
the time the guilty plea is entered, the defendant shall admit to
' the Court that the defendant is, in fact, guilty of the offenses
charged in the Information. The defendant agrees that the
United States may, at its sole election, reinstate any dismissed
charges or seek additional charges in the event that any guilty
plea entered or sentence imposed pursuant to this Agreement is
subsequently vacated, set aside, or invalidated by any Court.
The defendant further agrees to waive any defenses to
reinstatement of those charges, or the filing of additional
charges, based upon laches, the assertion of speedy trial rights,

any applicable statute of limitations, or any other ground. The
2
Case 3:23-cr-00126-MEM Document 3 Filed 05/22/23 Page 3.0f 32

calculation of time under the Speedy Trial Act for when trial
- must commence is tolled as of the date of the defendant’s
signing of this Agreement, until either (a) the defendant pleads
- guilty; or (b) a new date is set by the Court for commencement
of trial.

92. Venue Waiver. The defendant agrees to knowingly waive the

o

right to challenge venue over the charged offense in the United
. States District Court for the Middle District of Pennsylvania.

3. Term of Supervised Release. The defendant also understands
that the Court may impose a term of supervised release
following any sentence of imprisonment exceeding one year, or

when required by statute. The Court may require a term of
supervised release in any other case. In addition, the defendant
understands that as a condition of any term of supervised
release or probation, the Court must order that the defendant

cooperate in the collection of a DNA sample if the collection of a

sample is so authorized by law.
Case 3:23-cr-00126-MEM Document 3 Filed 05/22/23 Page 4of32 ©
: , { ‘ s,

No Further Prosecution, Except Tax Charges. The United:

States Attorney’s Office for the Middle District of Pennsylvania

agrees that it will not bring any other criminal charges against

- the defendant directly arising out of the defendant’s

involvement in the offenses described above. However, nothing

in this Agreement will limit prosecution for criminal tax

charges, if any, arising out of those offenses.

B. Fines and Assessments

5.

Fine. The defendant understands that the Court may impose a

. fine pursuant to the Sentencing Reform Act of 1984. The willful

failure to pay any fine imposed by the Court, in full, may be
considered a breach of this Plea Agreement. Further, the
defendant acknowledges that willful failure to pay the fine may |
subject the defendant to additional criminal violations and civil
penalties pursuant to Title 18, United States Code, § 3611, et
seq.

Alternative Fine. The defendant understands that under the

_ alternative fine section of Title 18, United States Code, § 3571,

4
~ Case 3:23-cr-00126-MEM Document 3 Filed 05/22/23 Page.5 of 32

the maximum fine quoted above may be increased if the Court —
finds that any person derived pecuniary gain or suffered
pecuniary loss from the offense and that the maximum fine to
be imposed, if the Court elects to proceed in this fashion, could
be twice the amount of the gross gain or twice the amount.of the .
gross loss resulting | from the offense.
1 . ‘Tmate Financial Responsibility Program. If the Court, orders a
fine or restitution. as part of the defendant's sentence, and the
sentence includes a term of imprisonment, the defondant agrees
to voluntarily enter the United States Bureau of Prisons- '
administered program known as the Inmate Financial
Responsibility Program, through which the Bureau of Prisons
will collect up to 50% of the defendant's prison salary, and up to
' 50% of the balance of the defendant’s inmate account, and apply
that amount on the defendant’ S behalf to the ‘Payment of the

outstanding fine and restitution orders.

8. Special Assessment. The defendant understands that the Court

will impose a special assessment of $100, pursuant to the
5
Case 3:23-cr-00126-MEM Document 3 Filed 05/22/23 Page 6 of 32.

provisions of Title 18, United States Code, § 3018. No later
than the date of sentencing, the defendant or defendant’s
counsel shall mail a check in payment of the special assessment
directly to the Clerk, United States District Court, Middle.

'. District of Pennsylvania. If the defendant intentionally fails to
make this payment, that failure may be treated as a breach of
this Plea Agreement and may result in further prosecution, the
filing of additional criminal charges, ora contempt citation.

9. Collection of Financial Obligations. In order to facilitate the

collection of financial obligations imposed in connection with

this case, the defendant consents and agrees:

a. to fully disclose all assets in which the defendant has an
interest or over which the defendant has control, directly or .
indirectly, including those held by a spouse, nominee, or
other third party;

b. to submit to interviews by the Government regarding the /

defendant’s financial status; .
‘Case 3:23-cr-00126-MEM Document 3 -Filed 05/22/23 Page 7 of 32

c. to submit a complete, accurate, and truthful financial
statement, on the form provided by the Government, to the
United States Attorney’s Office no later than 14 days
following entry of the guilty plea’

d. whether represented by counsel or not, to consent to contact
by and communication with the Government, and to waive
any prohibition against communication with a represented
party by the Government regarding the defendant's
financial status:

e. to authorize the Government to obtain the defendant’s
credit reports in order to evaluate the defendant’s ability to
satisfy any financial obligations imposed by the Court; and

f. to submit any financial information requested by the

Probation Office as directed, and to the sharing of financial
information between the Government and the Probation

~

Office.
Case 3:23-cr-00126-MEM:° Document 3 Filed 05/22/23 Page 8 of 32

>

C. Sentencing Guidelines Calculation

10. Determination of Sentencing Guidelines. The defendant and —

counsel for both parties agree that the United States Sentencing
Commission Guidelines, which took effect on November 1, 1987 ,
and its amendments (the “Sentencing Guidelines”), will apply to
the offense or offenses to which the defendant is pleading guilty.
The defendant understands that the Sentencing Guidelines are
advisory and not binding on the Court: The defendant further

. agrees that any legal and factual issues relating to the

application of the Sentencing Guidelines to the defendant's .
conduct, including facts to support any specific offense
characteristic or other enhancement or adjustment and the

appropriate sentence within the statutory maximums provided
for by law, will be determined by the Court after briefing, a pre~

sentence hearing, or a sentencing hearing.

11. Acceptance of Responsibility— Two/Three Levels. Ifthe

defendant can adequately demonstrate recognition and .

affirmative acceptance of responsibility to the Government as
8 Co
Case 3:23-cr-00126-MEM Document 3 Filed 05/22/23 Page 9 of 32 .

, required by the Sentencing Guidelines, the Government will
recommend that the defendant receive a two- or three-level
reduction in the defendant’s offense level for acceptance of
responsibility. The third level, if applicable, shall be within the
discretion of the Government under U.S.S.G. § 3E1.1. The

- failure of the Court to find that the defendant is entitled to a

_ reduction shall not be a basis to void this Agreement.

12. Specific Sentencing Guidelines Recommendations. With respect

to the application of the Sentencing Guidelines to the
defendant's conduct, the parties agree to recommend as follows:
Under U.S.8.G. §2B1.5(a) and §2X1.1, the Base Offense Level is
8. Under U.S.S.G. §2B1.5(b)(4), there is a 2-level enhancement
of the offense level because the offense was committed for
pecuniary gain. Under US.S.G. §2B1.5(b)(1)(B), if the value of
the cultural heritage resources attributable to the Defendant's
relevant conduct exceeds $6,500, the offense level will be
increased by the number of levels from the table in §U.S.S.G.

2B1.1. The amount of loss attributable to the Defendant's
9
Case 3:23-cr-00126-MEM Document 3_ Filed 05/22/23 ‘Page 10 of 32

relevant conduct is limited to any loss amount suffered by the
Hillwood Estate, Museum & Gardens. Each party reserves the
right to make whatever remaining arguments it deems
appropriate with regard to application of the United States
Sentencing Commission Guidelines to the defendant's conduct.
The defendant understands that any recommendations are not
binding upon either the Court or the United States Probation
Office, which may make different findings as to the application
of the Sentencing Guidelines to the defendant’s conduct. The

defendant further understands that the United States will
provide the Court and the United States Probation Office all

- information in its possession that it deems relevant to the |
application of the Sentencing Guidelines to the defendant's

conduct.

D. Sentencing Recommendation

18. Appropriate Sentence Recommendation. At the time of

sentencing, the United States may make a recommendation
10
Case 3:23-cr-00126-MEM Document 3 Filed 05/22/23 Page 11 of 32

-
that it considers appropriate based upon the nature and
circumstances of the case and the defendant’s participation in
the offense, and specifically reserves the right to recommend a
sentence up to and including the maximum sentence of
imprisonment and fine allowable, together with the cost of | .
prosecution.

14. Special Conditions of Probation/Supervised Release. If

probation or a term of supervised release is ordered, the United |
States may recommend that the Court impose one or more
special conditions, including but not limited to the following:

a. The defendant be prohibited from possessing a firearm or
other dangerous weapon.

b. The defendant make restitution, if applicable, the payment:
‘of which shall be in accordance with a schedule to be
determined by the Court.

CG. The defendant pay any fine imposed in accordance with a

schedule. to be determined by the Court.

11
Case 3:23-cr-00126-MEM Document 3 Filed 05/22/23 Page 12 of 32

d. The defendant be prohibited from incurring new credit .
charges or opening additional lines of credit without
approval of the Probation Office unless the defendant is in
’ eompliance with the payment schedule. -

e. The defendant be directed to provide the Probation Office

and the United States Attorney access to any requested
financial information.

f. The defendant be confined in a community treatment
center, halfway house, or similar facility.

g. The defendant be placed under home confinement.

h. The defendant be ordered to perform community service.

i. The defendant be restricted from working in certain types of
occupations or with certain individuals if the Government
deems such restrictions to be appropriate.

j. The defendant be directed to attend substance abuse

counseling, which may include testing to determine whether

the defendant is using drugs or alcohol.

N

12
Case 3:23-cr-00126-MEM Document 3 Filed 05/22/23 Page 13 of 32

k.

The defendant be directed to attend psychiatric or

' psychological counseling and treatment in a program

approved by the Probation Officer.
The defendant be denied certain federal benefits including
contracts, grants, loans, fellowships, and licenses.

The defendant be directed to pay any state or federal taxes

and file any and all state and federal tax returns as

required by law.

E, Victims’ Rights and Restitution

' 15. Victims’ Rights. The defendant understands that pursuant to -

the Victim and Witness Protection Act, the Crime Victims’ -

Rights Act, the Justice for All Act, and the regulations

promulgated under those Acts by the Attorney General of the

- United States, crime victims have the following rights:

a,

}

Jb.

- The right:to be reasonably protected from the accused;

The right to reasonable, accurate, and timely notice of any |

| public court proceeding or any parole proceeding involving

the crime, or of any release or escape of the accused; —

13
Case 3:23+cr-00126-MEM Document 3 Filed 05/22/23 Page 14 of 32

c. The right not to be excluded from any such public court
proceeding, unless the Court, after receiving clear and
convincing evidence, determines that testimony by the
victim would be altered materially if the victim heard other
testimony at that proceeding;

d. The right to be reasonably heard at any public hearing in
the Court involving release, plea, sentencing, or any parole
proceeding. The defendant understands that the victims’
comments and recommendations at any of these proceedings
may be different than those of the parties to this-
Agreement;

e. The reasonable right to confer with the attorney for the
Government in the case. The defendant understands that
the victims’ opinions and recommendations given to the
attorney for the Government may be different than those

presented by the United States as a ‘consequence of this

Agreement;

14
_ Case 3:23-cr-00126-MEM Document 3 Filed 05/22/23 Page150f32

f. - The right to full and timely restitution as provided for by

law. The attorney for the Government is required to “fully

. advocate the rights of victims on the issue of restitution

unless such advocacy would unduly prolong or complicate
the sentencing proceeding,” and the Court is authorized to
order restitution by the defendant including, but not limited
to, restitution for property loss, economic loss, personal
injury, or death;
g. The right to proceedings free from unreasonable delay; and
h. The right to be treated with fairness and with respect for
the victim's dignity and privacy.

(16. Restitution. The defendant acknowledges that, pursuant to the
Mandatory Restitution. Act of ‘April 24, 1996, Title 18, United
States Code, § 3663A, the Court is required in all instances to

order full restitution to all victims for the losses those victims
have suffered asa result of the defendant's conduct. The — .

defendant also agrees that the Government will seek, andthe _

Court may impose an order. of restitution as to victims of the

15
‘Case 3:23-cr-00126-MEM Document 3 Filed 05/22/23 Page 16 of 32

defendant’s relevant conduct. With respect to the payment of
- restitution, the defendant further agrees that, as part of the
‘sentence in this matter, the defendant shall be responsible for
making payment of restitution in full, unless the defendant can
_demonstrate to the satisfaction of the Court that the defendant’s
economic circumstances do not allow for the payment of full
' restitution in the foreseeable future, in which case the
defendant will be required to make partial restitution
payments. In addition to the schedule of payments that may be
established by the Court, the defendant understands and agrees
- that; pursuant to the Mandatory Victims Restitution Act of -
1996 and the Justice For All Act of 2004, victims of federal
crimes are entitled to full and timely restitution. As such, these.
payments do not preclude the Government from using other
assets or income of the defendant to satisfy the restitution
obligation. The defendant understands and agrees that the
United States Attorney’s Office, by and through the Financial

Litigation Unit, has the obligation and the right to pursue any
16
Case 3:23-cr-00126-MEM Document 3 Filed-05/22/23 Page 17 of 32

legal means, including but not limited to, submission of the debt
to the Treasury Offset Program, to collect the full amouit of
restitution owed to the victims in a timely fashion. Although
the defendant may reserve the right to contest the amount of
restitution owed, the defendant agrees to take all steps to
facilitate collection of all restitution, including submitting to.
debtor S exams as directed by the Government. Towards this
goal, the defendant agrees to waive any further notice of
forfeiture and agrees that the United States may, at its sole
election, elect to pursue civil or criminal forfeiture in the
‘amount of the victim restitution owed in this case, and the
Court may enter both a restitution order and a forfeiture
judgment in the amount of any unpaid restitution found by the
‘Court to be due and owing at' the time of sentencing ‘in this
matter. The defendant consents to the filing of any civil
complaint or superseding information which may.be necessary
to perfect a forfeiture order and further stipulates and agrees

that the defendant’s guilty plea constitutes an admission to all
17 .
Case 3:23-cr-00126-MEM Document 3 Filed 05/22/23 Page 18 of 32

matters legally and factually necessary for entry of a forfeiture
order in this case. The parties agree that the Government will
‘recommend, but cannot guarantee, that any assets recovered
through forfeiture proceedings be remitted to crime victims to —
reduce the defendant's restitution obligation in this case. The
defendant acknowledges that the making of any payments does
not preclude the Government from using other assets or income
of the defendant to satisfy the restitution Sbligation. The
defendant understands that the amount of restitution
calculated for purposes of Chapter 5 of the Sentencing
Guidelines might be different from the amount of loss calculated
for purposes of Chapter 2 of the Sentencing Guidelines.

17. Full Restitution by Schedule. The defendant agrees to make
full restitution in accordance with a schedule to be determined

by the Court.

OR Information Provided to Court and Probation Office .

18. Background Information for Probation Office. The. defendant

' understands that the United States will provide to the United
18
Case 3:23-cr-00126-MEM. Document 3 Filed 05/22/23 Page 19 of 32

States Probation Office all information in its possession that the
United States deems relevant regarding the defendant’s
background, character, cooperation, if any, and involvement in

this or other offenses. .

19. Objections to Pre-Sentence Report. The defendant understands
that pursuant to the United States District Court for the Middle
District of Pennsylvania’s “Policy for Guideline Sentencing,” .
both the United States and defendant must communicate to the
Probation Officer within 14 days after disclosure of the pre-
sentence report any objections they may have as to material
information, sentencing classifications, applicable Sentencing
Guidelines ranges, and policy statements contained in or
omitted from the report. The defendant agrees to meet with the
United States at least five days prior to sentencing in a good
faith attempt to resolve any substantive differences. If any
issues remain unresolved, they shall be communicated to the

Probation Officer for inclusion in an addendum to the pre"

sentence report. The defendant agrees that unresolved
19

\
Case 3:23-cr-00126-MEM Document 3 Filed 05/22/23 . Page 20 of 32

C

substantive objections will be decided by the Court after
briefing, a pre-sentence hearing, or at the sentencing hearing,
where the standard or proof will be a preponderance of the |

evidence, and the Federal Rules of Evidence, other than with

respect to privileges, shall not apply under Fed. R. Evid.

1101(d)(8), and the Court may. consider any reliable evidence,

including hearsay. Objections by the defendant to the pre-

- . sentence report or the Court’s rulings,-will not be grounds for .

20.

withdrawal of a plea of guilty.

Relevant Sentencing Information, At sentencing, the United
States will be permitted to bring.to the Court’s attention, and
the Court. will be permitted to consider, all relevant information
about the defendant’s background, character and conduct,

including the conduct that is the subject of the charges that the

_ United States has agreed to dismiss, and the nature and extent

of the:defendant’s cooperation, if any. The United States will be —

entitled to bring to the Court’s attention and the Court will be

20
Case 3:23-cr-00126-MEM Document 3 Filed 05/22/23 Page 21 of 32

entitled to consider any failure by the defendant to fulfill any

obligation under this Agreement.

21. Non-Limitation on Government’s Response. Nothing in this
Agreement shall restrict or limit the nature or content of the
United States’ motions or responses to any motions filed on
behalf of the defendant. Nor does this Agreement in any way
. \
restrict the Government in responding to any request by the
Court for briefing, argument or presentation of evidence
regarding the application of Sentencing Guidelines to the
defendant’s conduct, including but not limited to, requests for
information concerning possible sentencing departures.

G. Court Not Bound by Plea Agreement
22. Court Not Bound by Terms. ‘The defendant understands that
the Court is not a party to and is not bound by this Agreement,
or by any recommendations made by the parties. Thus, the
Court is free to impose upon the defendant any sentence up to
and including the maximum sentence of imprisonment for five

years, a fine of $250,000, a maximum term of supervised release —

21
~_ Case 3:23-cr-00126-MEM Document 3 Filed 05/22/23 Page 22 of 32

of up to three years, which shall be served at the conclusion of
and in addition to any term of imprisonment, the costs of
prosecution; denial of certain federal benefits, and assessments
totaling $100.

23. No Withdrawal of Plea Based on Sentence or Recommendations.

If the Court imposes a sentence with which the defendant is
dissatisfied, the defendant will not be permitted to withdraw
any guilty plea for that reason alone, nor will the defendant be
permitted to withdraw any guilty plea should the Court decline
to follow any recommendations by any of the parties to this
_ Agreement. |
H. Breach of Plea Agreement by Defendant

24, Breach of Agreement. In the event the United States believes

the defendant has failed to fulfill any obligation under this
Agreement, then the United States shall, in its discretion, have

the option of petitioning the; Court to be relieved of its

obligations under this Agreement. Whether the defendant has

completely fulfilled all of the obligations under this Agreement
22
. Case 3:23-cr-00126-MEM Document 3 Filed 05/22/23 Page 23 of 32

shall be determined by the Court in an appropriate proceeding,
during which any disclosures and documents provided by the
defendant shall be admissible, and during which the United .
States shall be required to establish any breach by a
preponderance of the evidence. In order to establish any breach
by the defendant, the United States is entitled to rely on
statements and evidence given by the defendant during the
cooperation phase of this Agreement, if any.

25. Remedies for Breach. The defendant and the United States

agree that in the event the Court concludes that the defendant

has breached the Agreement:

a. The defendant will not be permitted to withdraw any guilty .
plea tendered under this Agreement and agrees not to
petition for withdrawal of any guilty plea;

b. The United States will be free to make any

recommendations to the Court regarding sentencing in this

case;

23
Case 3:23-cr-00126-MEM Document 3 Filed 05/22/23 Page 24 of 32 |

Cc. Any evidence or statements made.by the defendant during
the ‘cooperation phase of this Agreement, if any, will be
admissible at any trials or sentencings;

d. The United States will be free to bring any other charges it
has against the defendant, including any charges originally
brought against the defendant or which may have been
under investigation at the time of the plea.’ The defendant
waives and hereby agrees not to raise any defense to the
reinstatement of these charges based upon collateral
estoppel, Double J eopardy, statute of limitations, assertion

of Speedy Trial rights, or other similar grounds.

26. Violation of Law While Plea or Sentence Pending. The
defendant understands that itis a condition of this Agreement
that the defendant refrain from any further violations of state,
local, or federal law while awaiting plea and sentencing. The
defendant acknowledges and agrees that if the Government
receives information that the defendant has committed new

crimes while awaiting plea or sentencing in this case, the
240
Case 3:23-cr-00126-MEM Document 3 Filed'05/22/23 Page 25 of 32

‘Government may petition the Court and, if the Court finds by a

preponderance of the evidence that the defendant has
committed any other criminal offense while awaiting plea or
sentencing, the Government shall be free at its sole election to
either: (a) withdraw from this Agreement; or (b) make any
sentencing recommendations to the Court that it deems
appropriate. The defendant further understands and agrees

_ that, if the Court finds that the defendant has committed any

other offense while awaiting plea or sentencing; the defendant
will not'be permitted to withdraw any guilty pleas tendered
pursuant to this Agreement, and the government will be,
permitted to bring any additional charges that it may have
against the defendant.

I. Appeal Waiver

27. Appeal.Waiver — Direct. The defendant is aware that Title 28,
United States Code, § 1291 affords a defendant the right to
appeal a judgment of conviction and sentence; and that Title 18,

‘United States Code, § 3742(a) affords a defendant the right to
SO 25
Case 3:23-cr-00126-MEM Document 3 Filed 05/22/23 Page 26 of 32

appeal the sentence imposed. Acknowledging all of this, the
defendant knowingly waives the right to appeal the conviction
and sentence. This waiver includes any and all possible
grounds for appeal, whether constitutional or non-
constitutional, including, but not limited to, the manner in
which that sentence was determined in light of United States v.
Booker, 543 U.S. 220 (2005). The defendant further
acknowledges that this appeal waiver is binding only upon the
defendant and that the United States retains its right to appeal
in this case.

28. Collateral Appeal Waiver. The defendant acknowledges,
understands and agrees that, by pleading guilty pursuant to —
this Agreement, the defendant voluntarily and knowingly
waives the right to collaterally attack the defendant’s
conviction, sentence, or any other matter relating to this
prosecution, including but not limited to a motion to vacate
judgment under Title 28, United States Code, Section 2255; a

petition for a writ of habeas corpus under Title 28, United
. 26
Case 3:23-cr-00126-MEM Document 3 Filed 05/22/23 Page 27 of 32

States Code, Section 9941; or any other motion or writ seeking ,
collateral relief However, no provision of this agreement shall
preclude the defendant from pursuing in an appropriate forum
any appeal, collateral attack, writ, or motion claiming that the

_ defendant received constitutionally ineffective assistance of
counsel. In the event the defendant raises a claim of ineffective
assistance of counsel, the defendant hereby agrees (a) that the
Government retains its right to oppose any such claim on
procedural or substantive grounds: and (b) that counsel for the
United States may confer with any of the defendant’s prior
counsel whose performance is attacked in sucha claim, for
purposes of preparing any response or for any hearing -
necessitated by the filing of such a claim.

29. Appeal Waiver Breach. The defendant acknowledges that
pursuing a direct appeal or any collateral attack waived in the
preceding paragraph(s) may constitute a breach of this.

. (

Agreement. The Government agrees that the mere filing of a

notice of appeal is not a breach of the Agreement. The
27
Case 3:23-cr-00126-MEM- Document 3 Filed 05/22/23 Page 28 of 32

Government may declare a breach only after the defendant or -
the defendant’s counsel thereafter states, either orally or in

writing, a determination to proceed with an appeal or collateral
attack raising an issue the Government deems barred by the
waiver. The parties acknowledge that the pursuit of an appeal —
or any collateral attack constitutes a breach only if a court
determines that the appeal or collateral attack does not present
an issue that a judge may reasonably conclude is permitted by

. an exception to the waiver stated in the preceding paragraph(s)

or constitutes a “miscarriage of justice” as that term is defined

in applicable law.

J. Other Provisions
30. Agreement Not Binding on Other Agencies. Nothing in this
Agreement shall bind any other United States Attorney’s Office,
state prosecutor's office, or federal, state, or local law
bo enforcement agency.
- 81. No Civil Claims or Suits: The defendant agrees not to pursue or

initiate any civil claims or suits against the United States of
28

f
Case 3:23-cr-00126-MEM Document 3 Filed 05/22/23, Page 29 of 32

32.

AL

America, its agencies or employees, whether or not presently

known to the defendant, arising out of the investigation,

prosecution or cooperation, if any, covered by this Agreement,

including but not limited to any claims for attorney’s fees and °
other litigation expenses arising out of the investigation and
prosecution of this matter. By the defendant’s guilty plea in

this matter the defendant further acknowledges that the

Government's position in this litigation was taken in good faith,

had a substantial basis in law and fact and was not vexatious.

Plea Agreement Serves Ends of Justice. The United States is

~ entering this Agreement with the defendant because this

disposition of the matter fairly and adequately addresses the

_ gravity of the offenses from which the charges are drawn, as’

well as the defendant’s role in such offense(s), thereby serving

83.

the ends of justice.
Merger of All Prior Negotiations, This document states the
complete and only Agreement between the United States

Attorney for the Middle District of Pennsylvania and the
95 ,
- Case 3:23-cr-00126-MEM Document 3 ‘Filed 05/22/23 Page 30 of 32

_ defendant in this caise, and is binding onlyon the parties to this
Agreement and supersedes all prior understandings or plea
-offers, whether written or oral. This agreement-cannot be ©
modified other than in writing that is signed by all parties or on

» the record in court. No other promises or inducements have
been or will be made to the defendant in connection with this
case, nor have any predictions or threats been made in
connection with this plea. Pursuant to Rule 11 of the Federal
Rules of Criminal Procedure, the defendant certifies that the

defendant’s plea is knowing and voluntary and is not the result

of force or threats or promises apart from those promises set

forth in this Agreement.

34, Defendant is Satisfied with Assistance of Counsel. The
Defendant agrees that the defendant has discussed this case
and this Agreement in detail with the defendant’s attorney, who

has advised the defendant of the defendant's Constitutional and
other trial and appellate rights, the nature of the charges, the

- elements of the offenses the United States would have to prove
| 30
Case 3:23-cr-00126-MEM Document 3 Filed 05/22/23 Page 31 of 32

35.

at trial, the evidence the United States would present at such
trial, possible defenses, the advisory Sentencing Guidelines and .
other aspects of sentencing, potential losses of civil rights and
privileges, and other potential consequences of pleading guilty
in this case. The defendant agrees that the defendant is

satisfied with the legal services and advice provided to. the

defendant by the defendant’s attorney.

f

Deadline for Acceptance of Plea Agreement. The original of this
Agreement must be signed by the defendant and defense

counsel and received by the United States Attorney’s Office on

or before 5:00 p.m., May 12, 2023, otherwise the offer may, in

36.

the sole discretion of the Government, be deemed withdrawn.
Required Signatures. None of the terms of this Agreement shall
be binding on the Office of the United States Attorney for the |

Middle District of Pennsylvania until signed by the defendant

!

‘and defense counsel and then signed by the United States

Attorney or his designee.

31
Case 3:23-Cr-00126-MEM Document 3 Filed 05/22/23 Page 32 of 32.

ACKNOWLEDGMENTS
I have read this agreement and carefully reviewed every part of it
with my attorney. I fully understand it and I voluntarily agree to it.

Zs OB espn. As ~

Defendant
_ Jam the defendant’s counsel. I have carefully reviewed every part
of this agreement with the defendant. To my knowledge, my client’s
decision to enter into this agreement is an informed and voluntary one.
sf ilax Ltt!
Date , . LEG A. LATELLA
Cofinsel for Defendant oy

GERARD M. KARAM .
‘United States Attorney

S| Fa - By: - -
Date . OS JAM . BUCHANAN
| Assistant United States Attorney

JMB/2020R00260/April 17, 2023
VERSION DATE: March 8, 2021

82°
